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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )               8:15CR164
       vs.                                     )
                                               )                 ORDER
BRIANA M. HAMPTON,                             )
JACOB J. BARRICKMAN,                           )
                                               )
                     Defendants.               )


      This matter is before the court on defendant Briana M. Hampton’s Motion to
Continue Trial [61] as counsel needs additional time to investigate plea negotiations. The
defendant shall comply with NECrimR 12.1(a). For good cause shown,

       IT IS ORDERED that the motion to continue trial is granted, as follows:

      1. The jury trial, for both defendants, now set for December 1, 2015 is continued
to January 12, 2016.

       2. Defendant is ordered to file a waiver of speedy trial as soon as practicable.

        3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and January 12, 2016 shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel for the defendant the
reasonable time necessary for effective preparation, taking into account the exercise of due
diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED November 18, 2015.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
